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   1                     IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION

   3   GRANT BIRCHMEIER, et al.,                )   Docket No. 12 C 4069
                                                )
   4                          Plaintiffs,       )
                                                )
   5                   vs.                      )
                                                )
   6   CARIBBEAN CRUISE LINE, INC.,             )
       et al.,                                  )   Chicago, Illinois
   7                                            )   October 23, 2018
                              Defendants.       )   9:35 o'clock a.m.
   8
                         TRANSCRIPT OF PROCEEDINGS - MOTION
   9                  BEFORE THE HONORABLE MATTHEW F. KENNELLY

  10   APPEARANCES:

  11   For the Plaintiff:                 EDELSON PC
                                          BY: MR. ALEXANDER G. TIEVSKY
  12                                      350 N. LaSalle St., 14th Floor
                                          Chicago, Illinois 60654
  13
       For Deft. Caribbean                TABET DIVITO ROTHSTEIN
  14   Cruise Line and Vacation           BY: MR. TIMOTHY A. HUDSON
       Ownership Marketing                209 South LaSalle Street, 7th Floor
  15   Tours:                             Chicago, Illinois 60604

  16   For Deft. The Berkley              FORDE LAW OFFICES, LLP
       Group:                             BY: MR. BRIAN P. O'MEARA
  17                                      111 W. Washington St., Suite 1100
                                          Chicago, Illinois 60602
  18
       Court Reporter:                    MR. JOSEPH RICKHOFF
  19                                      Official Court Reporter
                                          219 S. Dearborn St., Suite 1232
  20                                      Chicago, Illinois 60604
                                          (312) 435-5562
  21

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  23                             PROCEEDINGS RECORDED BY
                                  MECHANICAL STENOGRAPHY
  24                         TRANSCRIPT PRODUCED BY COMPUTER

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   1               THE CLERK:     Case No. 12 C 4069, Birchmeier vs.

   2   Caribbean Cruise Line.

   3               MR. TIEVSKY:     Good morning, your Honor, Alexander

   4   Tievsky for the class.

   5               MR. O'MEARA:     Good morning, your Honor, Brian O'Meara

   6   on behalf of the defendant The Berkley Group.

   7               MR. HUDSON:     Good morning, your Honor, Tim Hudson on

   8   behalf of defendant Caribbean Cruise Line and Vacation

   9   Ownership Marketing Tours.

  10               THE COURT:     And Mr. Bank is not here.

  11               MR. TIEVSKY:     Mr. Bank sent us an e-mail, said he

  12   wasn't coming.

  13               THE COURT:     Okay.

  14               Well, all right, then.        So, one of the things I was

  15   going to tell Mr. Bank -- because the last part of his motion

  16   is that he wanted me to explain to him who appeared at the

  17   hearing on the 18th of September, at which I struck his other

  18   motion for failure to appear, and whether there was an oral

  19   argument; and, if so, who participated in it.

  20               What I was going to say to him is that that's why God

  21   invented court reporters and transcripts.              So, he can order a

  22   transcript of today, too.          And if he wants to know what

  23   happened on October the 18th beyond what I'm going to say

  24   here, he can do that.        But I am going to explain it.          I said

  25   October; I meant September.
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   1               So, on September -- I got a notice of motion -- it's

   2   Docket No. 732 -- that reads, and I quote, as follows:

   3   "Please take notice that on Tuesday, September the 18th, 2018,

   4   at 9:30 a.m., or as soon thereafter as counsel shall be heard,

   5   the undersigned shall appear before the Honorable Matthew F.

   6   Kennelly in Courtroom 2103 -- " dot, dot, dot " -- and then

   7   and there present the motion by objector Kevin McCabe for an

   8   order imposing sanctions against plaintiff's counsel."

   9               Mr. Bank said he was going to appear.            He's the

  10   undersigned.      Didn't appear.      I entered an order saying that I

  11   struck the motion as a motion for sanctions based on his

  12   failure to appear.        I will add to that as a motion for

  13   sanctions, it was frivolous.          But I said I would consider it

  14   as his opposition to the motion for costs, and I did.

  15               And although in his current motion at which Mr. Banks

  16   said, in essentially the same words that I just described,

  17   that he would -- that he shall appear like right now, five

  18   minutes ago -- although I guess he suggests in there that I

  19   don't -- that I didn't read anything, because he says, "McCabe

  20   requests that the Court read or reread, as the case may be."

  21   That's a quote.

  22               I did read it, and I read the reply, and I read the

  23   motion.     And I overruled the objection to costs because I was

  24   persuaded that the additional costs that Mr. Bank objects to

  25   on Mr. McCabe's behalf, which is transcript costs, were
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   1   properly attributable to both appeals -- both objectors'

   2   appeals; and, I was persuaded by the authority that was cited

   3   by the plaintiff class in the motion for costs that it wasn't

   4   necessary to apportion it; and, that's why the cost award was

   5   joint and several.

   6               Now, I guess the one mistake I made is I didn't say

   7   specifically that it was joint and several.              So, I'm going to

   8   fix that right now.

   9               And, so, the order for today is going to say:                 The

  10   motion to alter the judgment is denied for the reasons stated

  11   in open court.       However, at the Court's instance, the order of

  12   October 15, 2018, Docket 735, is corrected to reflect that

  13   costs are taxed against the objectors jointly and severally.

  14               And the reason for that is that you shouldn't have to

  15   rely on one or the other to pay the whole thing -- or to pay

  16   half of it.

  17               So, there you go.          See you later.   Sorry you had to

  18   come in.

  19               MR. TIEVSKY:        Thank you.

  20               MR. O'MEARA:        Thank you, your Honor.

  21               MR. HUDSON:     Thank you, Judge.

  22                               *      *     *    *   *

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   1   I certify that the foregoing is a correct transcript from the
       record of proceedings in the above-entitled matter.
   2

   3
       /s/ Joseph Rickhoff                                   November 1, 2018
   4   Official Court Reporter

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